      Case 1:25-cv-00449-LJL            Document 128-1          Filed 06/03/25       Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
BLAKE LIVELY,                                                  :
                                                               :
                  Plaintiff,                                   : Case No.: 1:24-cv-10049-LJL
                                                               : (Consolidated for pretrial purposes with
         v.                                                    : 1:25-cv-00449-LJL) rel. 1:25-cv-00779-
                                                               : LJL
WAYFARER STUDIOS LLC, et al.,                                  :
                                                               :
                  Defendants.                                  :
----------------------------------------------------------------X
WAYFARER STUDIOS LLC, et al.,                                  :
                                                               :
                  Plaintiffs,                                  :
         v.                                                    :
                                                               :
BLAKE LIVELY, et al.,                                          :
                                                               :
                  Defendants.                                  :
----------------------------------------------------------------X

           [PROPOSED] ORDER GRANTING NON-PARTY SARA NATHAN’S
                       MOTION TO QUASH SUBPOENA

        Upon consideration of Non-Party Sara Nathan’s Motion to Quash the Subpoena issued to

her on May 5, 2025, the accompanying Memorandum of Law, the Declaration of Sara Nathan,

dated May 30, 2025, and attached exhibits, and the Declaration of Steven G. Mintz, Esq., dated

June 3, 2025, in support thereof, this Court hereby Orders that Non-Party Sara Nathan’s Motion

to Quash is GRANTED, and this Court quashes the Subpoena issued to Sara Nathan on May 5,

2025, pursuant to Federal Rule of Civil Procedure 45(d)(3).


SO ORDERED

Dated: _____________, 2025                              ____________________________________
       New York, New York                                          LEWIS J. LIMAN
                                                              United States District Judge
